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EXHIBIT C
A

. 26th District Court

4271 Madison Street Detroit, Ml 48226

 

Announcements

More Announcements

Eviction Moratorium Update

Aug 06, 2021

On August 4, 2021, it was determined that the CDC had eventually classified Wayne County as an
area under threat of “substantial” community transmission of COVID-19. As a result, both Wayne
County and the City of Detroit are now included in the CDC's latest eviction moratorium.
Consequently, no residential evictions will proceed for nonpayment of rent in the City of Detroit when
a CDC declaration order has been provided by the tenant to the landlord as detailed in the CDC’s
August 3, 2021, order temporarily halting residential evictions in counties with heightened levels of
COVID-19 community transmission.

Any tenant who previously provided a CDC declaration and is still present in a rental property is still
entitled to the protections of the eviction moratorium. Nothing in the order prevents the eviction of a
tenant for 1) engaging in criminal activity on the premises, 2) threatening the health and safety of other
residents, 3) damaging or posing an immediate and significant risk of damage to property, 4) violating
any applicable building code, health ordinance or similar regulation relating to health and safety; or 5)
violating any other contractual obligation, other than the payment of rent or similar housing related
payments.

Once again, | would like thank Congresswoman Rashida Tlaib for her efforts that ensured the City of
Detroit received the protection of this latest CDC eviction moratorium. She was, and continues to be,
instrumental in the fight to protect Detroit families from the ravages of COVID-19 and its resulting
economic and social hardships.

Despite the new eviction moratorium, landlords and tenants should still continue to seek financial
assistance from the COVID-19 Emergency Rental Assistance (CERA) program. Tenants facing
possible eviction should contact the Detroit Eviction Helpline at 866-313-2520 or
www.DetroitEvictionHelp.com. Litigants (tenants and landlords) must still attend any court hearings for which
they are scheduled. Please note that court hearings are being conducted virtually.

 

Please make sure to stay updated on this and any future efforts regarding evictions by visiting the
Court’s website at www.36thdistrictcourt.org.
